Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.1 Page 1 of 19



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11
                     UNITED STATES DISTRICT COURT
12
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
13
     AARON RAMOS, individually, and         Case No. '17CV2320 MMA BLM
14   on behalf of all others similarly
     situated,                              CLASS ACTION COMPLAINT
15
                Plaintiff,                  (1) Violation of False Advertising Law
16                                              (Cal. Business & Professions Code
          vs.                                   §§ 17500 et seq.);
17                                          (2) Violation of Unfair Competition
     FRY’S ELECTRONICS, INC., and               Law (Cal. Business & Professions
18   DOES 1-10 Inclusive,                       Code §§ 17200 et seq.);
                                            (3) Breach of Warranty in Violation of
19              Defendant.                      Song-Beverly Consumer Warranty
                                                Act (Cal. Civil Code §§ 1790 et
20                                              seq.);
                                            (4) Breach of Implied Warranty in
21                                              Violation of Song-Beverly
                                                Consumer Warranty Act (Cal. Civil
22                                              Code §§ 1790 et seq.);
                                            (5) Breach of Warranty in Violation of
23                                              Magnuson-Moss Warranty Act (15
                                                U.S.C. §§ 2310 et seq.); and
24                                          (6) Breach of Implied Warranty in
                                                Violation of Magnuson-Moss
25                                              Warranty Act (15 U.S.C. §§ 2310 et
                                                seq.).
26
                                            Jury Trial Demanded
27

28


                                  CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.2 Page 2 of 19



 1         Plaintiff AARON RAMOS (“Plaintiff”), individually and on behalf of all
 2   others similarly situated, alleges as follows:
 3                              NATURE OF THE ACTION
 4         1.     Plaintiff brings this class action Complaint against Defendant FRY’S
 5   ELECTRONICS, INC. (hereinafter “Defendant”) to stop Defendant’s practice of
 6   falsely advertising and selling warranties for their graphics cards that they have no
 7   intention of honoring and to obtain redress for a class of consumers (“Class
 8   Members”) who were misled, within the applicable statute of limitations period,
 9   by Defendant.
10         2.     Defendant advertised to consumers that a warranty would accompany
11   the purchase of its graphics cards (“the Class Products”), whereby the consumer
12   product would be replaced if it was defective.
13         3.     Warranties are of particular value to consumers because they provide
14   a guarantee of the value of a good after it is purchased. This is particularly true
15   for graphics cards which are critical to the proper functioning of consumers’
16   computers.
17         4.     Plaintiff and other consumers similarly situated were exposed to these
18   advertisements through print and digital media.
19         5.     Defendant misrepresented and falsely advertised and represented to
20   Plaintiff and others similarly situated by failing to disclose in either its
21   advertisements or the contract itself that Defendant would not honor the warranty.
22         6.     Defendant’s misrepresentations to Plaintiff and others similarly
23   situated induced them to purchase Defendant’s Class Products.
24         7.     Defendant took advantage of Plaintiff and similarly situated
25   consumers unfairly and unlawfully.
26                            JURISDICTION AND VENUE
27         8.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
28
                                               Page 1
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.3 Page 3 of 19



 1   a California resident, seeks relief on behalf of a Class, which will result in at least
 2   one class member belonging to a different state than that of Defendant, a California
 3   Corporation. Plaintiff also seeks damages for each violation alleged herein which,
 4   when aggregated among each member of the class, exceed the $5,000,000.00
 5   threshold for requisite amount in controversy. Therefore, both minimal diversity
 6   of citizenship and the amount in controversy requirements are satisfied for
 7   jurisdiction under the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2).
 8         9.      Alternatively, jurisdiction is proper because this action is brought
 9   under Federal Statutes, and all California State Law claims are ancillary thereto.
10         10.     Venue is proper in the United States District Court for the Southern
11   District of California pursuant to 28 U.S.C. § 1391(b)(2) because a significant
12   portion of the events giving rise to this action took place here, Plaintiff lives here,
13   and Defendant does business here.
14                                      THE PARTIES
15         11.     Plaintiff AARON RAMOS is a citizen and resident of the State of
16   California, County of San Diego.
17         12.     Defendant FRY’S ELECTRONICS, INC. is a corporation that does
18   business in California, including San Diego County, that is incorporated in
19   California and headquartered in San Jose, California.
20         13.     Plaintiff alleges, on information and belief, that Defendant’s
21   marketing campaign, as pertains to this matter, was created by Defendant and was
22   disseminated throughout California.
23         14.     Plaintiff is informed and believes, and thereon alleges, that at all time
24   relevant, Defendant’s sales of products and services are governed by the
25   controlling law in the state in which they do business and from which the sales of
26   products and services, and the allegedly unlawful acts occurred, which is
27   California.
28
                                               Page 2
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.4 Page 4 of 19



 1         15.    Plaintiff is informed and believes, and thereon alleges, that each and
 2   all of the acts and omissions alleged herein were performed by, or is attributable
 3   to, Defendant and/or its employees, agents, and/or third parties acting on its behalf,
 4   each acting as the agent for the other, with legal authority to act on the other’s
 5   behalf. The acts of any and all of Defendant’s employees, agents, and/or third
 6   parties acting on its behalf, were in accordance with, and represent, the official
 7   policy of Defendant.
 8         16.    Plaintiff is informed and believes, and thereon alleges, that said
 9   Defendants are in some manner intentionally, negligently, or otherwise
10   responsible for the acts, omissions, occurrences, and transactions of each and all
11   their employees, agents, and/or third parties acting on their behalf, in proximately
12   causing the damages herein alleged.
13         17.    At all relevant times, Defendant ratified each and every act or
14   omission complained of herein. At all relevant times, Defendant, aided and
15   abetted the acts and omissions as alleged herein.
16                                 PLAINTIFF’S FACTS
17         18.    In or around late 2013 Plaintiff purchased an open-box PNY GeForce
18   GTX graphics card (“the Graphics Card”) from Defendant.
19         19.    The on-the-box advertisement for the Graphics Card printed and
20   placed thereon by Defendant stated that it came with the same warranty offered by
21   the manufacturer and that it will honor this warranty even if the product is used.
22   Furthermore, the box for the Graphics Card also states that it is accompanied by a
23   lifetime warranty by the manufacturer.
24         20.    Plaintiff purchased the Graphics Card from Defendant in reliance on
25   the aforementioned representations, namely that it is backed by a lifetime warranty
26   and that Defendant will honor this warranty even though Plaintiff is not the
27   original owner thereof.
28
                                              Page 3
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.5 Page 5 of 19



 1         21.   After using the Graphics Card for a few years, it began to
 2   malfunction.
 3         22.   Plaintiff requested, pursuant to the warranty, that Defendant honor
 4   the warranty and replace the Graphics Card or give him a refund in the purchase
 5   price amount.
 6         23.   Defendant refused to replace or refund the Graphics Card, thereby
 7   refusing to honor its warranty, because Plaintiff had not registered the card with
 8   the manufacturer.
 9         24.   The     manufacturer,     PNY         Technologies,   Inc.   (hereinafter,
10   “Manufacturer”), apparently required all of their Graphics Cards to be registered
11   with them in order for the owner to be eligible
12         25.   Defendant does not inform consumers, including Plaintiff, that
13   Manufacturer requires Graphics Card owners to register them in order to be
14   eligible for Manufacturer’s warranty. Furthermore, in order for consumers to
15   register their Graphics Cards, they need the registration paper work which is only
16   available from Defendant when consumers purchase their Graphics Cards brand
17   new. In short, Plaintiff could not have purchased the Graphics Card used from
18   Defendant and been eligible for Manufacturer’s warranty.
19         26.   Defendant’s knowledge of the fact that Plaintiff and similarly situated
20   consumers could not reap the benefits of the warranty is demonstrated by the fact
21   that when Plaintiff attempted to return the Graphics Card, Defendant refused to
22   honor Manufacturer’s warranty.
23         27.   Defendant omitted from its advertisements and contracts that
24   consumers who purchase open-box Graphics Cards will not be eligible for
25   Manufacturer’s warranty.
26         28.   Plaintiff had no reasonable way of knowing that he must purchase the
27   Graphics Card initially rather than used in order to register for Manufacturer’s
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                                              Page 4
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.6 Page 6 of 19



 1   warranty, i.e., Plaintiff had no reasonable opportunity to find out that Defendant
 2   would not honor the warranty.
 3          29.    Defendant was aware that Plaintiff could not have reasonably known
 4   that it would not honor the warranty.
 5          30.    Had Plaintiff known that Defendant would not honor the warranty,
 6   Plaintiff would not have purchased the Graphics Card from Defendant, rather,
 7   Plaintiff would have considered purchasing a new one or purchasing one from a
 8   different retailer.
 9          31.    Plaintiff was significantly upset by Defendant’s refusal to honor its
10   warranty as advertised.
11          32.    Such sales tactics employed on Defendant rely on falsities and have
12   a tendency to mislead and deceive a reasonable consumer.
13          33.    Plaintiff is informed, believes, and thereupon alleges that such
14   representations were part of a common scheme to mislead consumers and
15   incentivize them to purchase products from Defendant.
16          34.    Plaintiff   reasonably    believed   and     relied   upon   Defendant’s
17   representations in its advertisement.
18          35.    Plaintiff materially changed his position in reliance on Defendant’s
19   representations and was harmed thereby.
20          36.    Plaintiff would not have purchased the Graphics Card or any similarly
21   advertised product had Defendant disclosed that it would not honor its warranties.
22          37.    Had Defendant properly marketed, advertised, and represented that it
23   would not honor warranties stated in its advertisements, Plaintiff would not have
24   purchased the Graphics Card or any similarly advertised product.
25          38.    Defendant benefited from falsely advertising and representing the
26   costs of its products. Defendant benefited on the loss to Plaintiff and provided
27   nothing of benefit to Plaintiff in exchange.
28
                                               Page 5
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.7 Page 7 of 19



 1                         CLASS ACTION ALLEGATIONS
 2         39.    Plaintiff brings this action, on behalf of himself and all others
 3   similarly situated, and thus, seeks class certification under Federal Rule of Civil
 4   Procedure 23.
 5         40.    The class Plaintiff seeks to represent (the “Class”) is defined as
 6   follows:
 7                All consumers, who, between the applicable statute of
                  limitations and the present, purchased Defendant’s Class
 8                Products, namely used items on which Defendant makes
                  statements that it will honor any manufacturer warranty.
 9

10         41.    As used herein, the term “Class Members” shall mean and refer to the
11   members of the Class described above.
12         42.    Excluded from the Class are Defendant, its affiliates, employees,
13   agents, and attorneys, and the Court.
14         43.    Plaintiff reserves the right to amend the Class, and to add additional
15   subclasses, if discovery and further investigation reveals such action is warranted.
16         44.    Upon information and belief, the proposed class is composed of
17   thousands of persons. The members of the class are so numerous that joinder of
18   all members would be unfeasible and impractical.
19         45.    No violations alleged in this complaint are contingent on any
20   individualized interaction of any kind between class members and Defendant.
21         46.    Rather, all claims in this matter arise from the identical, false,
22   affirmative written statements that Defendant would provide warranties to the
23   Class Members, when in fact, such representations were false.
24         47.    There are common questions of law and fact as to the Class Members
25   that predominate over questions affecting only individual members, including but
26   not limited to:
27                (a)   Whether Defendant engaged in unlawful, unfair, or deceptive
28
                                              Page 6
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.8 Page 8 of 19



 1                      business practices in advertising warranties with its products to
 2                      Plaintiff and other Class Members with no intention of
 3                      honoring them;
 4                (b)   Whether Defendant made misrepresentations with respect to its
 5                      warranties for its products;
 6                (c)   Whether Defendant profited from this advertisement;
 7                (d)   Whether Defendant violated California Bus. & Prof. Code §
 8                      17200, et seq. California Bus. & Prof. Code § 17500, et seq.,
 9                      California Civ. Code § 1750, et seq.. California Civ. Code §
10                      1790, et seq., and 15 U.S.C. § 2310, et seq.;
11                (e)   Whether Plaintiff and Class Members are entitled to equitable
12                      and/or injunctive relief;
13                (f)   Whether Defendant’s unlawful, unfair, and/or deceptive
14                      practices harmed Plaintiff and Class Members; and
15                (g)   The method of calculation and extent of damages for Plaintiff
16                      and Class Members.
17         48.    Plaintiff is a member of the class he seeks to represent
18         49.    The claims of Plaintiff are not only typical of all class members, they
19   are identical.
20         50.    All claims of Plaintiff and the class are based on the exact same legal
21   theories.
22         51.    Plaintiff has no interest antagonistic to, or in conflict with, the class.
23         52.    Plaintiff is qualified to, and will, fairly and adequately protect the
24   interests of each Class Member, because Plaintiff was induced by Defendant’s
25   advertisement during the Class Period.         Defendant’s unlawful, unfair and/or
26   fraudulent actions concerns the same business practices described herein
27   irrespective of where they occurred or were experienced. Plaintiff’s claims are
28
                                               Page 7
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.9 Page 9 of 19



 1   typical of all Class Members as demonstrated herein.
 2         53.    Plaintiff will thoroughly and adequately protect the interests of the
 3   class, having retained qualified and competent legal counsel to represent himself
 4   and the class.
 5         54.    Common questions will predominate, and there will be no unusual
 6   manageability issues.
 7                              FIRST CAUSE OF ACTION
 8                    Violation of the California False Advertising Act
 9                         (Cal. Bus. & Prof. Code §§ 17500 et seq.)
10         55.    Plaintiff incorporates by reference each allegation set forth above.
11         56.    Pursuant to California Business and Professions Code section 17500,
12   et seq., it is unlawful to engage in advertising “which is untrue or misleading, and
13   which is known, or which by the exercise of reasonable care should be known, to
14   be untrue or misleading...or...to so make or disseminate or cause to be so made or
15   disseminated any such statement as part of a plan or scheme with the intent not to
16   sell that personal property or those services, professional or otherwise, so
17   advertised at the price stated therein, or as so advertised.”
18         57.    California Business and Professions Code section 17500, et seq.’s
19   prohibition against false advertising extends to the use of false or misleading
20   written statements.
21         58.    Defendant misled consumers by making misrepresentations and
22   untrue statements about its warranties, namely, Defendant made consumers
23   believe that Defendant would honor the warranties for the Class Products listed in
24   its advertisement even though this was not the case.
25         59.    Defendant knew that its representations and omissions were untrue
26   and misleading, and deliberately made the aforementioned representations and
27   omissions in order to deceive reasonable consumers like Plaintiff and other Class
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                                               Page 8
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.10 Page 10 of 19



 1   Members.
 2         60.    As a direct and proximate result of Defendant’s misleading and false
 3   advertising, Plaintiff and the other Class Members have suffered injury in fact.
 4   Plaintiff reasonably relied upon Defendant’s representations regarding the
 5   warranties for Defendant’s products. In reasonable reliance on Defendant’s false
 6   advertisements, Plaintiff and other Class Members purchased Class Products from
 7   Defendant believing that in case they would be covered by warranties providing
 8   for their replacement or repair, and that Defendant would honor the warranties.
 9   However, Defendant did not inform Class Members that consumers of used goods
10   are not actually eligible for the warranties that Defendant promises to honor, and
11   that Defendant will therefore refuse to honor said warranties.
12         61.    Plaintiff   alleges   that    these     false   and   misleading   written
13   representations made by Defendant constitute a “scheme with the intent not to sell
14   that personal property or those services, professional or otherwise, so advertised
15   at the price stated therein, or as so advertised.”
16         62.    Defendant advertised to Plaintiff and other putative class members,
17   through written representations and omissions made by Defendant and its
18   employees.
19         63.    Defendant knew that they would not provide Plaintiff and Class
20   Members with the warranties as they are advertised.
21         64.    Thus, Defendant knowingly lied to Plaintiff and other putative class
22   members in order to induce them to purchase the Class Products from Defendant.
23         65.    The misleading and false advertising described herein presents a
24   continuing threat to Plaintiff and the Class Members in that Defendant persist and
25   continue to engage in these practices, and will not cease doing so unless and until
26   forced to do so by this Court.        Defendant’s conduct will continue to cause
27   irreparable injury to consumers unless enjoined or restrained. Plaintiff is entitled
28
                                                Page 9
                                        CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.11 Page 11 of 19



 1   to preliminary and permanent injunctive relief ordering Defendant to cease their
 2   false advertising, as well as disgorgement and restitution to Plaintiff and all Class
 3   Members of Defendant’s revenues associated with their false advertising, or such
 4   portion of those revenues as the Court may find equitable.
 5                            SECOND CAUSE OF ACTION
 6                         Violation of Unfair Competition Law
 7                       (Cal. Bus. & Prof. Code §§ 17200 et seq.)
 8         66.    Plaintiff incorporates by reference each allegation set forth above.
 9         67.    Actions for relief under the unfair competition law may be based on
10   any business act or practice that is within the broad definition of the UCL. Such
11   violations of the UCL occur as a result of unlawful, unfair or fraudulent business
12   acts and practices.    A plaintiff is required to provide evidence of a causal
13   connection between a defendant's business practices and the alleged harm--that is,
14   evidence that the defendant's conduct caused or was likely to cause substantial
15   injury. It is insufficient for a plaintiff to show merely that the defendant's conduct
16   created a risk of harm. Furthermore, the "act or practice" aspect of the statutory
17   definition of unfair competition covers any single act of misconduct, as well as
18   ongoing misconduct.
19                                         UNFAIR
20         68.    California Business & Professions Code § 17200 prohibits any
21   “unfair ... business      act   or practice.”       Defendant’s acts, omissions,
22   misrepresentations, and practices as alleged herein also constitute “unfair”
23   business acts and practices within the meaning of the UCL in that its conduct is
24   substantially injurious to consumers, offends public policy, and is immoral,
25   unethical, oppressive, and unscrupulous as the gravity of the conduct outweighs
26   any alleged benefits attributable to such conduct. There were reasonably available
27   alternatives to further Defendant’s legitimate business interests, other than the
28
                                              Page 10
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.12 Page 12 of 19



 1   conduct described herein. Plaintiff reserves the right to allege further conduct
 2   which constitutes other unfair business acts or practices. Such conduct is ongoing
 3   and continues to this date.
 4         69.    In order to satisfy the “unfair” prong of the UCL, a consumer must
 5   show that the injury: (1) is substantial; (2) is not outweighed by any countervailing
 6   benefits to consumers or competition; and, (3) is not one that consumers
 7   themselves could reasonably have avoided.
 8         70.    Here, Defendant’s conduct has caused and continues to cause
 9   substantial injury to Plaintiff and members of the Class. Plaintiff and members of
10   the Class have suffered injury in fact due to Defendant’s decision to mislead
11   consumers. Thus, Defendant’s conduct has caused substantial injury to Plaintiff
12   and the members of the Class.
13         71.    Moreover, Defendant’s conduct as alleged herein solely benefits
14   Defendant while providing no benefit of any kind to any consumer.              Such
15   deception utilized by Defendant convinced Plaintiff and members of the Class that
16   Defendant would provide them with a warranty and that Defendant would honor
17   that warranty upon purchasing Defendant’s Class Products. In fact, Defendant
18   knew that they had no intention of providing the advertised warranties and thus
19   unfairly profited. Thus, the injury suffered by Plaintiff and the members of the
20   Class are not outweighed by any countervailing benefits to consumers.
21         72.    Finally, the injury suffered by Plaintiff and members of the Class is
22   not an injury that these consumers could reasonably have avoided.              After
23   Defendant falsely represented the warranties, consumers changed their position by
24   purchasing the warrantied Class Products, thus causing them to suffer injury in
25   fact. Defendant failed to take reasonable steps to inform Plaintiff and class
26   members that the advertisement was false. As such, Defendant took advantage of
27   Defendant’s position of perceived power in order to deceive Plaintiff and the
28
                                             Page 11
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.13 Page 13 of 19



 1   Class. Therefore, the injury suffered by Plaintiff and members of the Class is not
 2   an injury which these consumers could reasonably have avoided.
 3         73.    Thus, Defendant’s conduct has violated the “unfair” prong of
 4   California Business & Professions Code § 17200.
 5                                    FRAUDULENT
 6         74.    California Business & Professions Code § 17200 prohibits any
 7   “fraudulent ... business act or practice.” In order to prevail under the “fraudulent”
 8   prong of the UCL, a consumer must allege that the fraudulent business practice
 9   was likely to deceive members of the public.
10         75.    The test for “fraud” as contemplated by California Business and
11   Professions Code § 17200 is whether the public is likely to be deceived. Unlike
12   common law fraud, a § 17200 violation can be established even if no one was
13   actually deceived, relied upon the fraudulent practice, or sustained any damage.
14         76.    Here, not only were Plaintiff and the Class members likely to be
15   deceived, but these consumers were actually deceived by Defendant.             Such
16   deception is evidenced by the fact that Defendant did not provide Plaintiff with
17   the warranty as advertised by Defendant. Plaintiff’s reliance upon Defendant’s
18   deceptive statements is reasonable due to the unequal bargaining powers of
19   Defendant against Plaintiff. For the same reason, it is likely that Defendant’s
20   fraudulent business practice would deceive other members of the public.
21         77.    As explained above, Defendant deceived Plaintiff and other Class
22   Members by representing the availability of the warranty Defendant sold.
23         78.    Thus, Defendant’s conduct has violated the “fraudulent” prong of
24   California Business & Professions Code § 17200.
25                                     UNLAWFUL
26         79.    California Business and Professions Code Section 17200, et seq.
27   prohibits “any unlawful…business act or practice.”
28
                                             Page 12
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.14 Page 14 of 19



 1          80.   As explained above, Defendant deceived Plaintiff and other Class
 2   Members by falsely representing warranties.
 3          81.   Defendant used false advertising, marketing, and misrepresentations
 4   to induce Plaintiff and Class Members to purchase Class Products from Defendant,
 5   in violation of California Business and Professions Code Section 17500, et seq.
 6   Had Defendant not falsely advertised, marketed, or misrepresented the warranties
 7   for its products, Plaintiff and Class Members would not have purchased the
 8   warrantied Class Products from Defendant. Defendant’s conduct therefore caused
 9   and continues to cause economic harm to Plaintiff and Class Members.
10          82.   These representations by Defendant are therefore an “unlawful”
11   business practice or act under Business and Professions Code Section 17200 et
12   seq.
13          83.   Defendant has thus engaged in unlawful, unfair, and fraudulent
14   business acts entitling Plaintiff and Class Members to judgment and equitable
15   relief against Defendant, as set forth in the Prayer for Relief. Additionally,
16   pursuant to Business and Professions Code section 17203, Plaintiff and Class
17   Members seek an order requiring Defendant to immediately cease such acts of
18   unlawful, unfair, and fraudulent business practices and requiring Defendant to
19   correct its actions.
20                            THIRD CAUSE OF ACTION
21    Breach of Warranty In Violation of the Song-Beverly Consumer Warranty
22                                           Act
23                             (Cal. Civ. Code § 1790, Et Seq.)
24          84.   Plaintiff incorporates by reference each allegation set forth above.
25          85.   Pursuant to Cal Civ. Code. §1793.2, Plaintiff has presented the
26   Graphics Card to Seller and/or other authorized service dealers of Defendant
27   within the term of protection and has tendered the subject Graphics Card for the
28
                                             Page 13
                                      CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.15 Page 15 of 19



 1   above-mentioned defects that substantially affect the use, value, and safety of the
 2   Graphics Card.
 3            86.   Defendant, through Seller and/or other authorized dealerships, have
 4   been unable to repair said defects in a reasonable number of attempts.
 5            87.   Pursuant to Cal Civ. Code. §1793.2, Plaintiff is entitled to a refund
 6   of the full purchase price of the Graphics Card, including all collateral charges and
 7   finance charges, and/or a replacement Graphics Card, plus all attorney fees and
 8   costs.
 9            88.   Defendant has willfully violated the provisions of this act by knowing
10   of its obligations to refund or replace Plaintiff’s Graphics Card, but failing to fulfill
11   them.
12                             FOURTH CAUSE OF ACTION
13     Breach of Implied Warranty In Violation of the Song-Beverly Consumer
14                                       Warranty Act
15                               (Cal. Civ. Code § 1790, Et Seq.)
16            89.   Plaintiff incorporates by reference each allegation set forth above.
17            90.   The Graphics Card purchased by Plaintiff was subject to an implied
18   warranty of merchantability as defined in Cal. Civ. Code §1790 running from the
19   Defendant to the intended consumer, Plaintiff herein.
20            91.   Defendant is a supplier of consumer goods as a person engaged in the
21   business of making a consumer product directly available to Plaintiff.
22            92.   Defendant is prohibited from disclaiming or modifying any implied
23   warranty under Cal. Civ. Code §1790.
24            93.   Pursuant to Cal. Civ. Code §1790, Plaintiff’s Graphics Card was
25   impliedly warranted to be fit for the ordinary use for which the Graphics Card was
26   intended.
27            94.   The Graphics Card was warranted to pass without objection in the
28
                                               Page 14
                                        CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.16 Page 16 of 19



 1   trade under the contract description, and was required to conform to the
 2   descriptions of the Graphics Card contained in the contracts and labels.
 3         95.     The above described defects in the Graphics Card caused it to fail to
 4   possess even the most basic degree of fitness for ordinary use.
 5         96.     As a result of the breaches of implied warranty by Defendant, Plaintiff
 6   have suffered and continue to suffer various damages.
 7                             FIFTH CAUSE OF ACTION
 8      Breach of Warranty In Violation of the Magnuson-Moss Warranty Act
 9                                 (15 U.S.C. § 2310, Et Seq.)
10         97.     Plaintiff incorporates by reference each allegation set forth above.
11         98.     Plaintiff is a purchaser of a consumer product who received the
12   Graphics Card during the duration of a written warranty period applicable to the
13   Graphics Card and who is entitled by the terms of the written warranty to enforce
14   against Defendant the obligations of said warranty.
15         99.     Defendant is a person engaged in the business of making a consumer
16   product directly available to Plaintiff.
17         100. Defendant, i.e., seller, is an authorized dealership/agent of
18   Manufacturer designed to perform repairs on Graphics Cards under Defendant’s
19   warranties.
20         101. The Magnuson-Moss Warranty Act, Chapter 15 U.S.C.A., Section,
21   2301 et. Seq. (“Warranty Act”) is applicable to Plaintiff’s Complaint in that the
22   Graphics Card was manufactured, sold and purchased after July 4,1975, and costs
23   in excess of ten dollars ($10.00).
24         102. Plaintiff’s purchase of the Graphics Card was accompanied by written
25   factory warranties for any non-conformities or defects in materials or
26   workmanship, comprising an undertaking in writing in connection with the
27   purchase of the Graphics Card to repair the Graphics Card or take other remedial
28
                                                Page 15
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.17 Page 17 of 19



 1   action free of charge to Plaintiff with respect to the Graphics Card in the event that
 2   the Graphics Card failed to meet the specifications set forth in said undertaking.
 3         103. Said warranties were the basis of the bargain of the contract between
 4   the Plaintiff and Defendant for the sale of the Graphics Card to Plaintiff.
 5         104. Said purchase of Plaintiff’s Graphics Card was induced by, and
 6   Plaintiff relied upon, these written warranties.
 7         105. Plaintiff has met all of Plaintiff’s obligations and preconditions as
 8   provided in the written warranties.
 9         106. As a direct and proximate result of Defendant’s failure to comply with
10   its express written warranties, Plaintiff has suffered damages and, in accordance
11   with 15 U.S.C. § 2310(d), Plaintiff is entitled to bring suit for such damages and
12   other equitable relief.
13                             SIXTHTH CAUSE OF ACTION
14    Breach of Implied Warranty In Violation of the Magnuson-Moss Warranty
15                                            Act
16                                 (15 U.S.C. § 2310, Et Seq.)
17         107. Plaintiff incorporates by reference each allegation set forth above.
18         108. The Graphics Card purchased by Plaintiff was subject to an implied
19   warranty of merchantability as defined in 15 U.S.C. § 2301(7) running from the
20   Manufacturer to the intended consumer, Plaintiff herein.
21         109. Defendant is a supplier of consumer goods as a person engaged in the
22   business of making a consumer product directly available to Plaintiff.
23         110. Defendant is prohibited from disclaiming or modifying any implied
24   warranty when making a written warranty to the consumer or when Defendant has
25   entered into a contract in writing within ninety (90) days of purchase to perform
26   services relating to the maintenance or repair of a Graphics Card.
27         111. Pursuant to 15 U.S.C. § 2308, Plaintiff’s Graphics Card was impliedly
28
                                              Page 16
                                       CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.18 Page 18 of 19



 1   warranted to be substantially free of defects and non-conformities in both material
 2   and workmanship, and thereby fit for the ordinary purpose for which the Graphics
 3   Card was intended.
 4             112. The Graphics Card was warranted to pass without objection in the
 5   trade under the contract description, and was required to conform to the
 6   descriptions of the Graphics Card contained in the contracts and labels.
 7             113. The above described defects in the Graphics Card render the Graphics
 8   Card unfit for the ordinary and essential purpose for which the Graphics Card was
 9   intended.
10             114. As a result of the breaches of implied warranty by Defendant, Plaintiff
11   has suffered and continues to suffer various damages.
12                                    MISCELLANEOUS
13             115. Plaintiff and Class Members allege that they have fully complied with
14   all contractual and other legal obligations and fully complied with all conditions
15   precedent to bringing this action or all such obligations or conditions are excused.
16                                  PRAYER FOR RELIEF
17             116. Plaintiff, on behalf of himself and the Class, requests the following
18   relief:
19                   (a)   An order certifying the Class and appointing Plaintiff as
20                         Representative of the Class;
21                   (b)   An order certifying the undersigned counsel as Class Counsel;
22                   (c)   An order requiring Defendant, at its own cost, to notify all
23                         Class Members of the unlawful and deceptive conduct herein;
24                   (d)   An order requiring Defendant to engage in corrective
25                         advertising regarding the conduct discussed above;
26                   (e)   Actual damages suffered by Plaintiff and Class Members as
27                         applicable from being induced to call Defendant under false
28
                                                Page 17
                                         CLASS ACTION COMPLAINT
Case 3:17-cv-02320-MMA-BLM Document 1 Filed 11/15/17 PageID.19 Page 19 of 19



 1                      pretenses;
 2               (f)    Punitive damages, as allowable, in an amount determined by
 3                      the Court or jury;
 4               (g)    Any and all statutory enhanced damages;
 5               (h)    All reasonable and necessary attorneys’ fees and costs provided
 6                      by statute, common law or the Court’s inherent power;
 7               (i)    Pre- and post-judgment interest; and
 8               (j)    All other relief, general or special, legal and equitable, to which
 9                      Plaintiff and Class Members may be justly entitled as deemed
10                      by the Court.
11                           REQUEST FOR JURY TRIAL
12         117. Plaintiff requests a trial by jury as to all claims so triable.
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14
     Dated: November 15, 2017         Respectfully submitted,

15                                    LAW OFFICES OF TODD M. FRIEDMAN , PC
16

17                                        By: /s/ Todd M. Friedman, Esq.
18                                            TODD M. FRIEDMAN, ESQ.
19                                             Attorney for Plaintiff AARON RAMOS

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                                               Page 18
                                        CLASS ACTION COMPLAINT
